            Case 3:11-cr-00489-JAH                     Document 54                Filed 08/31/11               PageID.141               Page 1 of 4


     ,*AO Moll        (Rev. 9/00) Judgment in a Criminal Case                                                                     FILED
                      Sheet I
                                                                                                                                  AUlJ .11 LUll
                                                                                                                    r
                                              lJNITED STATES DISTRICT COUR                                                 CLERK, u.s. DISTRICT COURT
                                                                                                                        SOUTHERN DISTRI~CALIFORNIA
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                      BY                        DEPUTY

                       UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                            David William Griftith                                 Case Number: JJ-cr-00489-JAH-1
                                                                                    Lynn H Ball
                                                                                   Defendallt's Attorney
     IU:(;ISTR\ nON ]'iO. X60530 12

     D
     TilL I)I':FI':NJ)/\NT:
     Ig] plcaded guilty to eOlIl~t(s)         One-count information.
                                              -----------------------------------------------------------------
     o was l(lLllld guilty on eOll1ll(s)
                 ,I
            ailer plea oi'not guilty.
            Accordingly. the dekndant is adjudged guilty of sLlch count( s). \\ hieh involve the following offense(s):
                                                                                                                                             Count
     Title & Section                         Nature of Offense                                                                              Number(s)
8 USC 1324(n)( I )(A)(ii)             Trnnsportation of fllegnl Aliens nnd Aiding nnd Abetting
& (v)(lI)




              The lklcndant is scnkneed as prov ided in pages 2 through ____4____ of this judgment. The sentence is imposed pursuant
       to the Sentencing Reform Act of 1984.
   D The delCndant has heen found not gui Ity on eount(s)
   o COLlnt(s)                                                                    is DareD dismissed on the motion orthe United States.
   [8J Assessment: $1 no.O() w'livcd.
   [8J No fine                                       D Forfeited pursuant to order filed                                            included herein.
              IT IS ()IWLRLD that the detcndant shall notifY the linited States attoillcy lor this district within 30 days orany change of name. residence.
       or mailing address until all tines. restitution. costs. and special assessments imrosed by this judgment are fully paid. If ordered to pay restitution. the
       defcndant shallnotil\ the court and lJnited States Attorney of any material change in the delendant's economic circumstances.
                                                                                    August 29,2011




                                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                                           JJ-cr-00489-JAH-J
      Case 3:11-cr-00489-JAH                                     Document 54          Filed 08/31/11          PageID.142          Page 2 of 4

AO 14::;B      (Rc\ f},(}O) .Il1dgJl\~llt in Criminal ('a:-;('
               Sht'rl 2    {nqH·isonm~nt


                                                                                                                Judgment   Page   2   of     4
 DEFENDANT: David William Griffith
 CASE NUMBER: II-ct'-00489-,JMI-1
                                                                           IMPRISONMENT
            The JdcnJant is hereb: committed to the custody of the United Slates Bureau of Prisons to be imprisoned for a term of
            Twelve months.




      o Sentence imposed pucsuant to Tilic!i liSC Section 1326(b).
      o rhe      COlli I makcs the 1()llnwing rccommcndations to thc Bureau of Prisons:




      o The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
              Oat                                                Oa.ITI.    0 p.m.        on
                   as notified by the United States Marshal.

      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o
         [J                         Slat,·s Marshal.
                   as notified hy the (illitcd

         o             b~
                   as noli!kd              I're~rial
                                         th..: I'n'hation nr           Sen ices Ofl1ce.



                                                                                RETURN

 I have executed this jucigment as follows:

            I.klcmlallt ddiv('!'ed on                                                              to

 at                                                               , with a certified copy of this judgment.


                                                                                                              UNtTED STATES MARSHAL

                                                                                      By
                                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                                  ll-cr-00489-JAH-l
        Case 3:11-cr-00489-JAH                          Document 54             Filed 08/31/11             PageID.143              Page 3 of 4

A0245D          (Rev. .V IOJ Judgment in a Criminal Case for Revocations
                Sheet 3     Supervised Rclca~c

                                                                                                                 Judgment-Page    --1- of         4
DEFENDANT: David William C,rillith
CASE NUMBER: II-cr-00489-.TAH-I
                                                               SUPERVISED RELEASE
Upon relca~e from imprisonmcnt, the defcndant shall be on supervised release for a term of:
Thrcc ) cars.


         The defendant shall report to the probation offiee in the district to which the defendant is released within 72 hours of release from
the eustudy of the Bureau of Prisons.

The defendant shalll10t commit another federal, state or local crime.
For ojji~nses (.()mmitled Oil or ajter September J 3. 1994:
The defendant shall "0:' illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall ~ubmit to onc drug test within 15 days of release from imprisonment and at least two periodic drug tests
thercatter as determined by the court. Testing requirements will not exceed submission of more than 4        drug tests per month during
the term of supervision, unless otherwise ordered by court.                                           -­

o       Th.! above drug testing condition is su~pended, based on the court's determination that the defendant poses a low risk of
        future sutslance abus,'. (Check, if ap plicab Ie.)

        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        Tile dclCnda!J! shali COCl1CW1C in llic colkctiotl or a DNA sample li'o1l1 the defendant. pursuant to section 3 of the DNA Analysis
        Backing Flilllillatioll i\d of 2000. pur;,l!anl to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall registel with the slate sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)

o       Thc dcfendant shdl r:articipate in an approved program for domestic violence. (Check, if applicable,)

          If this judgm:;nt impo~es II finc or restitution obligation, it is a condition of supervised release that the defendant pay any sueh fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard eonditions that have been adopted by this court. The defendant shall also comply with
any special conditioTlS imposed.


                                           STANDARD CONDITIONS OF SUPERVISION

  I)      ~he defendant ';l;all ':ot k~v') the judicial district without the permission of the court or probation officer;

  2)      th'~ dcfL:r.d:.nt ,h,,;; r;cpoa to thc probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant ~ha~l answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the dercndan' 5 1' al/ ~uppo:·t his or her dependents and meet other family responsibilities;
  5)      the defendant ,'hall work regularly af a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable rcn;;(,n s;

  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defen:-'ant ~hll r::frain from excc,'~ivc m'(' of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled subst~ncc or any paraph!;rnalia related to any controlled substances, except as prescribed by a physician;
  8)      ~'1e drfe"(ant ,';'(1'1 '.'.)1 frequent plaees \\ihere controlled substances are illegally sold, used, distributed, or administered;

  9)      "J') d~fcn::"rt s~'!t"   "c' ",.:;i)c:atc wit" ~n;1 persons engaged in criminal activity and shall not associate with any person convicted of
          a felony. unless grantcd permissiolJ to do so by the probation officer;
 I 0)     C'(~ defendant ;,"all perrri~ a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contrabar,d oh'lcrv('d in plain view of the probation officer;
II)      the defendant shalllJotif'l the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)      the dd'e!1riunt sh il not entcr into a'1Y agreement to act as an informer or a special agent of a law enforcement ageney without the
         permission (If th(~ l'(.\urt; oTIC

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          recol"fj ef rersflf1al fjistn".I' or I'haracteristics and shall permit the probation officer to make such notifications and to confirm the
          def'(:ndant's COll1"ljun,,' vritl- such n(l~ificali()n requirement.
                                                                                                                                      11-cr-00489-JAH-I
            Case 3:11-cr-00489-JAH                                              Document 54   Filed 08/31/11        PageID.144               Page 4 of 4


                           n~~  . q (in' .lndL'IIlC!H III ;\ ('liminal { ~hL:
                           ;-;lLd -!    "'i1': i.' , d l '(','li,Ii!;nn~
                                                                                                                        Judgmelll~-Page   ---:1.- of _.......;:4~__
        DEFENDANT: David William Griffith                                                                          II
        CASE NUMI3ER ll-cr-004119-JAH-1




                                                               SPECIAL CONDITIONS OF SUPERVISION
    Submit persun, rc~idcnc(', ('I'IIce: or vehicle 10 n :;carch, conducted by a Cnitcd States Probation Officer at a reasonable time and in a
    reasonable m311Ill'l', ba~cd upon reasonable su;;picioll of contraband or evidcncc of a violation of a condition of release; failure to submit to a
    search may he ~'rouJl(Js i(1I' n'v(ll''lti,Jn; thc ddelldant shall warn any other residcnts that the premises may be subject to searches pursuant to
    this condi:i',~:l

o   If deported, excluded, 'lI' allow(.(: to voluillurily rcturn to country of origin, not reenter the United States illegally and report to the probation
    officer \,ith 2 + hours of"(1) "cClilry tn tlie Unitcd States; supervision waived upon dcportation, exclusion or voluntary departure,
o   Not transport, harhor, or u:;,ist undocUll1l:nted aliens.
o   Not associate with \111(i ol'tllllcntcd aliens or alien snwgglers.
o   Not reenter the Unite.! Stales illegally.
I8J Not enter or reside in the Republic of Mexic!) without written permission of the Conrt or probation officer.
I8J Report :.lI lIt'hicl:\ n·.~d ,1r !rpcmted, or in which havc an interest, to the probation officer.
                                  0\\                                                  YOU

o   Not po.';::CSS all'.' . ,.'H~\\~ ic JI'l1g \ r coutrolled ~lIbstance without a lawful medical prescription.
o   Not associl1h.: WIth klllmn m;crs or, ·;rllllgglers of: or dealers in narcotics, controlled substances, or dangerous drugs in any form.

o psychiatrisUphysleian,
  Participate              ofmcnl:l1 health tn:atment directed by the probation officer, take all medications as prescribed by a
                      in :1 '1r<Jgr:1I11                                               as
                         and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and avai labk psycholo!:;ica I evaluations to tlte l11en\;11 health provider, as approved by the probation officer. The defendant may be required
    to contribute to the costs of services rendered in an amollnt to be determined by the probation officer, based on the defendant's ability to pay,

o   Take no medication c,)J1tnining ~ c(~ntrollcd substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directcd.
o Participate in n-.cntai !lenlfh tl2:1tl11Cnt progrftl1l as directed by thc probation office.
                          .1

o Provide complete dis.:!n"urc of per.';..mal and                               businc~s
                                                                finnneial records to the probfltion officer as requested.

o   Be pro'~iht('d f;Y"l1
    probation officer.
                                                 elK( killg acc<'ullts or incurring new credit charges or opening additional lines of credit without approval of the



o   Seek an;1 mainl:iin l'lll! timc cmpl,wll'lent ,lid/or schooling or a combination of both.
I8J Resolve all outs1a:ld n:; W;ljTants withlll 60 days.
                                    i

I8J Rcside ill rcsidelHial drug trea[ment program or a sober living envirolllllellt.
I8J Reside i!' Resilient.;·! HecHtry I~'elller (RI~C) as directed by the probation officer for a period of up to 120 days.
                 ;J


I8J Reside in a Resi!\~n!i:J! Reentry Center (RRC) as directed by the Bureau of Prisons for a period of six months
    commencing UpPi) 1':1 "1::;-- fl()!r, iT;)l'iSOnllwnt.

o services
  Remain in       place r,;;ide'lCe
                      yllll!'
            lI11(kr",)illd
               (\1'
                                        orpcriod
                                 trC;'!ment.
                                         ",,:dll':ll
                                                            ror H                 or            , cxcept while working at verifiable employment, attending religious

o   Not engage in any f(\nn of' tciemarketing, as defined in 18 USC 2325, without the written permission of the probation officer.

o   Compiy with the: cOlldil1lill~ lil' li~(; f 10111e ( \)nfinel1lcnt Program lor a period of                  months and remain at your residence
    execpt for activitlcs 'H employment as approved by the court or probation officcr. Wear an electronic monitoring device and follow
    procedures speci tied by the probation officeI'. Pay the totftl cost of electronic monitoring services, or a portion if deemed appropriate by the
    probatioll offiecr.

t29 Participate in a progillm 01 drug or alcohol abuse treatmcnt, including urinalysis testing and counseling, as directed by the probation officer.
     The deii..'ndant nll)' [-".' kl]lIi\('d 10 con1ribute to the costs of servicl's rendered in an amount to be determined by the probation officer, based
     on the (~("I~!1d:H:ft~ Dh;'i;-~, rc ~1n:!


                                                                                                                                                   II-cr-00489-JAH-l
